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 7 MIDLAND FUNDING, LLC, and
   MIDLAND CREDIT MANAGEMENT, INC.
 8
 9                               UNITED STATES DISTRICT COURT
10                            SOUTHERN DISTRICT OF CALIFORNIA
11
     RICHARD HAMILTON, an individual,                   Case No.      '16CV2273 WQHNLS
12
                        Plaintiff,                      NOTICE OF REMOVAL OF
13                                                      ACTION UNDER 28 U.S.C. § 1441(a)
              v.
14                                                      State Court Complaint filed 02/26/16
   ENCORE CAPITAL GROUP, INC.,
15 MIDLAND FUNDING, LLC,
   MIDLAND CREDIT MANAGEMENT,
16 INC. & DOES 1 - 10,
17                      Defendants.
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     P:01064959:87025.188
                             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(a)
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 1            TO THE CLERK OF THE COURT:
 2            PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1441(a) and 1331,
 3 Defendants Encore Capital Group, Inc. (“Encore”), Midland Funding, LLC
 4 (“Midland”), and Midland Credit Management, Inc. (“MCM”) (collectively
 5 “Defendants”) hereby remove this action from the Superior Court of the State of
 6 California for the County of San Diego, Case No. 37-2016-00006522-CL-MC-CTL
 7 (the “State Case”) to the United States District Court for the Southern District of
 8 California. The grounds for this removal are:
 9            FACTUAL SUMMARY
10            1.        On February 26, 2016, plaintiff Richard Hamilton commenced the State
11 Case alleging violations of the federal Fair Debt Collection Practices Act (15 U.S.C.
12 §§ 1692 et seq.), the Rosenthal Fair Debt Collection Practices Act (Cal. Civ. Code
13 §§ 1788 et seq.) and the Fair Debt Buying Practices Act (Cal. Civ. Code 1788.50 §§
14 et seq.).
15            2.        Defendants were served with the State Case on August 9, 2016.
16            3.        This notice is therefore timely pursuant to 28 U.S.C. § 1446(b) because
17 it is being filed within thirty days after service of the complaint.
18            JURISDICTION
19            4.        Removal is proper pursuant to 28 U.S.C. § 1441(a), which entitles a
20 defendant to remove “any civil action brought in a State court of which the district
21 courts of the United States have original jurisdiction,” and 28 U.S.C. § 1331, which
22 gives district courts “original jurisdiction of all civil actions arising under the
23 Constitution, laws, or treaties of the United States.”                 The district court has
24 supplemental jurisdiction over the alleged state law claims because they are so
25 related to the claim over which the district court has original jurisdiction that they
26 “form part of the same case or controversy.” 28 U.S.C. § 1367(a).
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 1            5.        Pursuant to 28 U.S.C. § 1446(a), Defendants attach as Exhibit 1 and
 2 Exhibit 2, Plaintiff’s Complaint and Defendants’ Answer in the State Court action.
 3
 4 DATED: September 8, 2016                SOLOMON WARD SEIDENWURM &
                                           SMITH, LLP
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 6
 7                                         By: s/Thomas F. Landers
 8                                             THOMAS F. LANDERS
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                                               Attorneys for Defendants
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                                               MIDLAND FUNDING, LLC and MIDLAND
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                                               CREDIT MANAGEMENT, INC.
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